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                Exhibit B
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                                                                           Joshua A. Levy
                                                                 Levy Firestone Muse LLP
                                                               1701 K Street, NW, Ste 350
                                                                  Washington, DC 20006
                                                                         T (202) 845-3215
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                                  October 21, 2021

                                  via Electronic Mail

Thomas A. Clare
Joseph R. Oliveri
Andrew C. Phillips
10 Prince Street
Alexandria, VA 22314
tom@clarelocke.com
joe@clarelocke.com
andy@clarelocke.com

      Re: Fridman v. Bean LLC, 17-cv-2041 (RJL)

Dear Tom, Andy and Joe:

      This responds to your letter dated October 8, 2021.

       Defendants have already produced and logged responsive documents to the
extent they contained any of the agreed-upon search terms. The documents described
in your letter were not produced or logged because they did not contain the agreed-
upon search terms that Defendants used to locate responsive discovery.1 On March 23,
2020, Plaintiffs proposed search terms for Defendants to use to locate documents to
review for responsiveness to Plaintiffs’ document requests. Plaintiffs’ counsel and
Defendants’ counsel negotiated a list of search terms for Defendants to use. The list
adopted Plaintiffs’ search terms and included additional terms proposed by Defendants.


1
 One of the documents described in your email – an August 12 email – was not included
on Defendants’ privilege log because it is not in Defendants’ possession.
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Letter to T. Clare and J. Oliveri
October 21, 2021
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See Email from M. Dunn to J. Levy (Mar. 23, 2020); Attachment to Ltr. from J. Levy to A.
Lewis (Apr. 29, 2020).

       In light of your letter, to avoid litigation and allay the concerns expressed in your
October 8 letter, and without waiver of Defendants’ objections, we are transmitting
additional documents that did not arise from the agreed-upon search terms (Bates
stamped as DEFS0011814-DEFS0011826) and a supplemental privilege log containing
additional documents pertaining to the server allegations.

       This letter is without waiver of Defendants’ rights, privileges, or objections.

                                          Sincerely,




                                          Joshua A. Levy
